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Sheet I

 

UNITED STATES DISTRICT COURT

 

 

Eastern District of New York
UNITED STATES OF AMERICA JUDGMENT INA CRIMINAL CASE
V.
HASSAN DAHER ELREDA Case Number: 1:09-cr-00779-JFB-1

USM Number: 77692053

Peter Verby 305 Broadway Suite 804, New York, NY 10007
Defendant’s Attorney

THE DEFENDAN T:
Ir pleaded guilty to count(s) One of the Information.

C] pleaded nolo contendere to count(s)
which was accepted by the court,

 

C was found guilty on count(s)
after a plea of not guilty,

 

 

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
18 U.S.C. § 513 (a) POSSESSSION OF FORGED MONEY ORDERS 11/20/2009 1
The defendant is sentenced as provided in pages 2 through 11 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
C] The defendant has been found not guilty on count(s)

 

C] Count(s) Chis (Olare dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,

or mailing address until all fines, restitution, costs, and special assessments imposed by this Judgment are fully paid: If ordered to pay restitution,

the defendant must notify the court and United States attorney of material changes in economic circumstances.
9/24/2010

Date of Imposition of iNigment
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Joseph F. Bianco U.S.D.J.
Name of Judge Title of Judge
10/8/2010
Date
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Sheet 2 — Imprisonment

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DEFENDANT: HASSAN DAHER ELREDA " °

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IMPRISONMENT

total term of:

C) The court makes the following recommendations to the Bureau of Prisons:

C1 The defendant is remanded to the custody of the United States Marshal.

[] The defendant shall surrender to the United States Marshal for this district:

MO at Oam (pm on
ee
C] as notified by the United States Marshal.

 

 

CI before 2 p.m. on

 

[] as notified by the United States Marshal.

C1 as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at » with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
ROMER RE 1605) Judppersing OAGYAEE Document 18 Filed 09/24/10 Page 3 of 7 PagelD #: 35
TO.

 

ation
DEFENDANT: HASSAN DAHER ELREDA Mdement—Page goof ay
CASE NUMBER: 1:09-cr-00779-JFB-1 —
PROBATION

The defendant is hereby sentenced to probation for a term of :

3 years probation.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from

substance. The defend. t : pee j any unlawful use of a controlled
thereafter, as dete min ed bya submit to one drug test within 15 days of placement on probation and at least two periodic drug tests

[J] The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

vA The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
[] The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[] The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

C] The defendant shall Participate in an approved program for domestic violence. (Check, if applicable.)

If this Judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
each month;

3) _ the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) _ the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) _ the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

11) _ the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the robation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant’s compliance with such notification requirement.
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SPECIAL CONDITIONS OF SUPERVISION

The defendant is to make a full financial disclosure to the Probation Department.

The defendant shall Participate in an outpatient and/or inpatient drug treatment or detoxification Program approved by the
Probation Department. The defendant shall pay the costs of such treatment/detoxification to the degree he or she
reasonably able, and shall cooperate in securing any applicable third-party payment. The defendant shall disclose all
financial information and documents to the Probation Department to assess his or her ability to pay. The defendant shall
not consume any alcohol or other intoxicants during and after treatment/ detoxification, unless granted a prescription bya
licensed physician and proof of same is provided to the Probation Department. The defendant shall submit to testing during
and after treatment to ensure abstinence from drugs and alcohol.

The defendant shall participate in mental health treatment program as approved by the Probation Department. The
defendant shall contribute to the cost of such services rendered/or any psychotropic medications prescribed to the degree
he or she is reasonably able, and shail cooperate in securing any applicable third party payment. The defendant shall
disclose all financial information and documents to the Probation Department to assess his or her ability to pay.

 
 

 

Onetary Penalties
DEFENDANT: HASSAN DAHER ELREDA ume Be got a
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CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
Assessment Fine Restitution
TOTALS $ 100.00 $ $

C] The determination of restitution is deferred until - An Amended Judgment in a Criminal Case (AO 245C) will be entered
after such determination.

C1 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an Tretorn ately proportioned oayment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18°U'S.C. § 3664(), all nonfederal victims must be paid
before the United States is paid.

 

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
TOTALS $ 0.00 $ 0.00
hh NY

[] Restitution amount ordered pursuant to plea agreement $
ee

(J = The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the Judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

C]_ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
L) the interest requirement is waived for the (J fine {] restitution,

[] the interest requirement forthe [] fine C1 restitution is modified as follows:

* Findings for the total amount of losses are pequired under Chapters 109A, 110, 1 10A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.

 
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She Payments
DEFENDANT: HASSAN DAHER ELREDA Meme Paee 6 of ag
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SCHEDULE OF PAYMEN TS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:
A [ff Lump sum payment of $ _ 100.00 due immediately, balance due

C1 not later than or

. ve ?

[J] in accordance He, OD E,or [] F below; or
B-  () Payment to begin immediately (may be combined with LIc, C1D,or [JF below); or
C [) Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of

(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

 

D () Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or

E (J Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F [1 Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financia
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[1 Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

[1 The defendant shall pay the cost of prosecution.

O

The defendant shall pay the following court cost(s):

L) The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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